Case 3:21-cr-00353-CRB Document 122-4 Filed 01/10/24 Page 1 of 9




      Exhibit C
          Case 3:21-cr-00353-CRB Document 122-4 Filed 01/10/24 Page 2 of 9



‭ rom‬
F
‭Uma Subramanian,‬
 ‭23951 Spalding Ave.,‬
  ‭Los Altos, CA - 94024.‬
   ‭umasub@gmail.com‬
    ‭+1 (650) 492-5878‬

‭ o‬
T
‭The Honorable Charles R. Breyer,‬
 ‭San Francisco CourtHouse, Court room 6 - 17th floor,‬
  ‭450 Golden Gate Ave.,‬
   ‭San Francisco, CA - 94102.‬

‭Sub: Reference for Manish Lachwani‬

‭Dear Honorable Judge Breyer,‬

I‭ am writing to provide a character reference for my dear friend, Manish, who I have had the privilege of‬
 ‭knowing since 2014. I am a resident of Los Altos, and Manish is not only my neighbor but also someone I‬
  ‭deeply respect and admire.‬

‭ hroughout the years of our friendship, I have had numerous opportunities to witness different aspects of‬
T
‭Manish’s personality and actions that I believe make him an exceptional family friend. One of the most‬
 ‭remarkable qualities of Manish is his kindness and politeness. He treats everyone he encounters with the‬
  ‭utmost respect and consideration. His actions are a testament to his genuine caring nature, and he goes‬
   ‭out of his way to assist those in need. I have personally experienced his generosity and willingness to‬
    ‭lend a helping hand on numerous occasions.‬

‭ anish is a loving uncle to my children - as a parent, I also greatly appreciate the fact that Manish has‬
M
‭watched over my children, providing a safe and nurturing environment when I needed assistance. His‬
 ‭genuine concern for the welfare of others - is truly commendable.‬

‭ e has taken on the responsibility of being an emergency contact at our local school, demonstrating his‬
H
‭commitment to the safety and well-being of our children. He is actively engaged in our neighborhood‬
 ‭events and initiatives that aim to improve the lives of those around us.‬

I‭ respectfully request that you consider these insights into Manish's character and I have no doubt that he‬
 ‭will continue to contribute positively to our community.‬

‭Thank you for your time and consideration.‬

‭Sincerely,‬

Uma Subramanian
Case 3:21-cr-00353-CRB Document 122-4 Filed 01/10/24 Page 3 of 9
Case 3:21-cr-00353-CRB Document 122-4 Filed 01/10/24 Page 4 of 9
      Case 3:21-cr-00353-CRB Document 122-4 Filed 01/10/24 Page 5 of 9




Sushant Mishra
AWS Solution Architect
+919900129342
Sept 26th 2023

                               To Whomsoever it may concern

I am writing this letter to wholeheartedly recommend Manish Lachwani for his outstanding
expertise in Generative Artificial Intelligence (AI) and AWS cloud. Manish has consistently
demonstrated a deep understanding of this cutting-edge technology, making significant
contributions to team and projects.

During Manish's tenure at he consistently exhibited a strong passion for AWS, keeping abreast
of the latest AWS developments, best practices. His dedication to staying up-to-date with the
ever-evolving AWS ecosystem has proven invaluable to projects.
Also his passion for Generative AI, staying at the forefront of this rapidly evolving field. Their
dedication to exploring and applying the latest advancements in Generative AI has proven to
be a valuable asset to our team.

Some of his notable achievements and skills in AWS include:

Serverless Architecture: Manish has successfully designed and implemented serverless
architectures using AWS Lambda, API Gateway, and other serverless services, reducing
operational overhead and cost.

Containerization: Manish has expertise in Docker and Kubernetes on AWS, facilitating
containerization and orchestration of applications for scalability and reliability.

AWS Security: Manish places a strong emphasis on security best practices within AWS,
ensuring that our applications and data remain secure and compliant with industry
standards.

Some of Manish notable achievements and skills in Generative AI include:

Deep Learning Expertise: Manish possesses an in-depth understanding of deep learning
algorithms, including Generative Adversarial Networks (GANs), Variational Autoencoders
(VAEs), and Transformers, among others.

Natural Language Processing (NLP): Manish has applied Generative AI techniques to various
NLP tasks, such as text generation, sentiment analysis, and language translation, resulting in
improved performance and novel solutions.

Computer Vision: Manish has successfully utilized Generative AI models for image
generation, style transfer, and object recognition, showcasing their versatility in computer
vision applications.
      Case 3:21-cr-00353-CRB Document 122-4 Filed 01/10/24 Page 6 of 9




Creative Applications: Manish has demonstrated a keen ability to apply Generative AI in
creative contexts, including art generation, music composition, and content creation,
pushing the boundaries of what's possible in these fields.

Problem Solving: Manish consistently employs Generative AI as a problem-solving tool,
developing innovative solutions to complex challenges across various domains.
Collaboration and Communication: Manish has effectively collaborated with cross-functional
teams, communicating technical concepts to non-technical stakeholders, which has been
crucial in project success.

Manish is not only technically proficient but also a team player who is always willing to
mentor and share their knowledge with colleagues. Their ability to work effectively in fast-
paced and high-pressure situations has made him a valuable asset


Should you have any further questions or require additional information, please do not
hesitate to reach out to me at Sushant.mishra29@gmail.com. I am more than happy to
provide further insights into Manish capabilities.

Sincerely,

Sushant Mishra
9900129342
             Case 3:21-cr-00353-CRB Document 122-4 Filed 01/10/24 Page 7 of 9




                                                                                                     09/30/2023
From
        Srinivasan Sridharan,
        23951 Spalding Ave.,
        Los Altos, CA - 94024.
        sign.srini@gmail.com
        +1 (650) 492-5878

To
        The Honorable Charles R. Breyer,
        San Francisco Court House, Court room 6 - 17th ﬂoor,
        450 Golden Gate Ave.,
        San Francisco, CA - 94102.

Sub: Reference for Manish Lachwani

Dear Honorable Judge Breyer,

I am wriYng to you today to vouch for the character of my friend, Manish Lachwani, whom I have known since
2008. Our relaYonship began in a professional se\ng, where we worked together closely and I was able to witness
ﬁrsthand his dedicaYon, diligence, and commitment to his work.

Manish was instrumental in the development of the Kindle reader, a product that has brought joy to millions of
users worldwide. His work on kernel power management was key to the device's ability to last 30 days on a single
charge. This achievement is a testament to his hard work. Another instance I vividly recall is when we were faced
with debugging over 400 log ﬁles from Kindle device soaware crashes just before a criYcal launch. Despite the
pressure and intensity of the situaYon, Manish did not Yre. He represented the problem truthfully and worked
Yrelessly to solve it, demonstraYng his unwavering commitment, integrity and work ethic.

Aaer our professional paths diverged, we found ourselves as neighbors in Sunnyvale and now in Los Altos. Living
in close proximity has allowed me to get to know Manish on a more personal level. He is always ready to lend a
hand when needed. When I needed a wireless router, Manish didn't hesitate to drop one oﬀ at my home. He even
spoke to a realtor neighbor on his own to ﬁnd help for me when I was looking to sell my place.

His kindness extends beyond our immediate neighborhood. My father loves meeYng Manish during his walks. My
children and dog especially enjoy visiYng his home as they are always greeted with yummy munchies.

In conclusion, I believe that Manish's character is without quesYon. He is a hardworking, kind, polite, and
respecful individual with a kind heart, who consistently demonstrates these qualiYes in both his personal and
professional life. I am conﬁdent that he will conYnue to uphold these values in the future.

Thank you for considering my perspecYve.

Sincerely,



Srinivasan Sridharan
        Case 3:21-cr-00353-CRB Document 122-4 Filed 01/10/24 Page 8 of 9




To The Honorable Charles R. Breyer

Subject: Testimonial for Outstanding Citizenshipe


I have known Manish Lachwani for the 13 years and I have come to consider him as a close
personal friends. Manish’s daughter and my daughter went to the same school for elementary
studies and that is where I met Manish and his wife Kamini. They were one of the sweetest
couples and were very engaged parents. Our daughters quickly took to each other and became
very close and as a result I got to spend a lot of time with Manish and Kamini as well.

Manish was always a very engaged parent and very outstanding individual. He always
participated in all school activities and was one of the first to volunteer to chaperone the kids on
field trips. I saw him guide his daughter to becoming not just a great student but also be well
educated about entrepreneurship which he has had great experience with.

I have also seen him be a great son, making the regular trek to India to bring and drop his mom
regularly and host her at his home for 6 months at a time just to give her a break from her
mundane routine back in India.

My interactions with Manish have slowly changed over the years from that of a fellow parent to
those of a friend and I can vouch for his flawless character, helpful nature and personable
disposition.

I continue to look forward to my friendship with the Lachwanis for many years to come.

Regards,
Lalita Tadikonda
     Case 3:21-cr-00353-CRB Document 122-4 Filed 01/10/24 Page 9 of 9




From,
Thejus Krishna
D0418 77 Place
Yemlur Bangalore India 560037

To,
The Honourable Charles R Breyer,
USA

Dear Sir,
I met Manish Lachwani in Zynga back in 2011. He led the Quality Engineering
team of Zynga as a CTO. He is a very dynamic leader and he had the
reputation of working with Amazon Lab126 and he has 20+ patents with them.
He is a great inventor and vastly supports and embraces the latest technology
which yields the best results. At Zynga, he won the CTO award. He brought
down the execution time of automation scripts of various games. Saving time
meant faster releases.
Manish soon left Zynga to start his startup named "Appurify" as the company
co-founder and CTO in 2012. The main goal was to help the booming market
of mobile applications. Manish by then had identified a plethora of common
issues that the developers were facing across the world and they at Appurify
were building a platform to find and fix all these issues on a mobile device.
The company was acquired within 2-3 years by Google and that became
Google's firebase devices lab. He worked with Google for a year. He filed 20+
patents with Appurify and Google.
In 2015, he left Google and went on to start his next startup Headspin. He
continued to solve the issues around mobile applications on a mobile network
level. He understood the network speed in the developing world was very slow
and the application developers were unable to understand the issues
remotely. His inventions in Headspin brought a platform where mobile
developers could seamlessly solve numerous issues by sitting at her/his desk.
Manish has got 10+ patents with Headspin as well. His technical knowledge
and problem solving mind made him a great Engineer and found solutions to
numerous problems in the industry.
Yours truly,


Thejus Krishna
Bangalore, India
26th September 2023
